
WALLACE, Judge.
In an Anders1 appeal, J.S., a juvenile, seeks review of the trial court’s order withholding adjudication and placing him on probation. He also seeks review of the trial court’s imposition of certain costs. We affirm the disposition without comment but remand with directions to strike two imposed costs.
The trial court withheld adjudication, placed J.S. on probation, and assessed court costs of $50 and $20 under section 775.083(2), Florida Statutes (2006). These costs may only be assessed when the juvenile is adjudicated delinquent. See C.M.S. v. State, 997 So.2d 520, 521 (Fla. 2d DCA 2008); T.L.S. v. State, 949 So.2d 290, 291-92 (Fla. 5th DCA 2007). Here, adjudication was withheld. Also, J.S. was charged with a single felony count. Even if J.S. had been adjudicated delinquent, the $20 cost could not be imposed because it is applicable only to offenses other than felonies. See § 775.083(2). Accordingly, we affirm the disposition, but we remand the case to the trial court with instructions to strike the imposed costs of $50 and $20.
Affirmed; remanded with instructions to strike costs.
DAVIS and SILBERMAN, JJ., Concur.

. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967); In re Appellate Court Response to Anders Briefs, 581 So.2d 149 (Fla.1991).

